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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION


UNITED STATES OF AMERICA


VS.                                        CASE NO: 2:09-cr-92-FtM-29CM


GABRIEL EGUEZ



                             OPINION AND ORDER

      This matter comes before the Court on defendant's Motion to

Dismiss the Indictment Based on Violation of Due Process and Sixth

Amendment Speedy Trial Rights (Doc. #119) 1 filed on July 31, 2016.

The Government’s Response (Doc. #125) was filed on August 26, 2016.

The Court conducted an evidentiary hearing on October 27, 2016.

For the reasons set forth below, the motion is GRANTED.

                                      I.

      The testimony at the evidentiary hearing and the record in the

case reflect the following factual chronology:




      1Whilethe caption of the motion refers to the Due Process
Clause, the motion itself makes no reference to this provision.
Therefore, any due process claim has been abandoned. The motion
also relies on Federal Rule of Criminal Procedure 48(b)(3), but
dismissal under this Rule is only mandatory if there has been a
violation of defendant’s constitutional rights. United States v.
Knight, 562 F.3d 1314, 1324 (11th Cir. 2009).
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      A. Defendant’s Initial Activities in United States

      Defendant Gabriel Eguez (defendant or Eguez) was born in Santa

Cruz, Bolivia, South America.        Defendant first came to the United

States on November 17, 2000 on a Temporary Tourist Visa which was

valid through May 2001.        It appears that defendant stayed in the

United States beyond the visa limitation period, 2 and in July 2005,

defendant and Crystal Kelly had a daughter born in the United

States.       On September 21, 2006, defendant and Ms. Kelley were

married in the United States.

      The next immigration record for defendant was in October 2006.

Through counsel, defendant’s United States citizen wife filed a

petition for lawful permanent resident status in the United States

on defendant’s behalf.         On January 31, 2007, U.S. immigration

officials approved issuance of a conditional Permanent Resident

Card (“green card”) allowing defendant to stay in the United States

as a lawful resident until January 31, 2009.          (Gov’t Ex. 2, p. 4.)

Defendant obtained a United States Social Security card on April

11, 2007, and a Florida driver’s license on December 21, 2007.

(Id.)




      2 Thegovernment’s written Response (Doc. #125, pp. 2-3)
alleges additional facts about defendant’s activities during this
time period, but no such facts were presented at the evidentiary
hearing.


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      B. Defendant’s Pre-Indictment International Travel

      Shortly after defendant obtained his legal status in the

United States in early 2007, he began to travel internationally.

Documents collated by federal agents show that from 2007 through

early 2009 defendant (either alone or with his wife or daughter)

traveled from the United States to Bolivia twelve times, the Bahamas

once, and Mexico once, and traveled at least once from Bolivia to

Brazil (Gov’t Exs. 10A, 10B):

 Dates of Travel From United States (except last Destination
 entry)                                          Country
 February 15, 2007 through February 27, 2007     Bolivia

 May 31, 2007 through June 12, 2007                     Bolivia

 September 19, 2007 through October 6, 2007             Bolivia

 December 27, 2007 through January 6, 2008              Bolivia

 January 31, 2008 through February 7, 2008              Bolivia

 March 21, 2008 through March 24, 2008                  Nassau, Bahamas

 May 13, 2008 through June 5, 2008                      Bolivia

 June 6, 2008 through June 9, 2008                      Cancun, Mexico

 June 21, 2008 through July 14, 2008                    Bolivia

 July 18, 2008 through August 4, 2008                   Bolivia

 August 6, 2008 through September 22, 2008              Bolivia

 September 23, 2008 through October 4, 2008             Bolivia

 October 5, 2008 through November 28, 2008              Bolivia

 December 5, 2008 through January 26, 2009              Bolivia




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 January 1, 2009 through January 6, 2009                 Brazil         (from
                                                         Bolivia)


      C. Defendant’s Pre-Indictment Contact With Bank

      In April 2008, Darlene Hathaway, an investigator for what was

then SunTrust Bank, was conducting an internal bank investigation

involving a bank employee (Carlos Perez) who was adding names to

customers’ bank accounts.         Ms. Hathaway testified this type of

conduct was being used to help perpetrate mortgage fraud, and she

froze various accounts so she could speak with the individual

account      holders.   Because   a    George   Teague   had   been   added   to

defendant’s account, Ms. Hathaway met with defendant and George

Teague and a Mr. Fernandez 3 on April 25, 2008.            Teague explained

why his name was added to defendant’s account, but the explanation

did not make sense to Ms. Hathaway.             Ms. Hathaway told them that

this practice was not common and was not something she should be

seeing.      Ms. Hathaway did not tell defendant that the practice was

illegal, that the authorities would have to be contacted over the

events, or that there would be any criminal action in the future.

      D. Defendant Leaves the United States

      Ms. Janeth Armendia testified that she and defendant lived

together as husband and wife in Bolivia from December 2008 until

defendant’s arrest in February 2016.              Records obtained by the



      3Oneof the accounts frozen by Ms. Hathaway belonged to Mr.
Fernandez.


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government show defendant left the United States and arrived in

Bolivia     on   December    5,   2008.      Defendant’s       wife   and    daughter

remained in the United States.               Ms. Armendia was not asked to

explain why defendant left the United States, and the Court declines

to accept the factual representations made in defendant’s motion

(Doc. #119, p. 2) which are not supported by the evidence presented

at the evidentiary hearing.

      E. Defendant’s Extended Permanent Resident Alien Status

      On January 28, 2009, defendant and his wife filed a petition

to remove the conditions from the green card, listing their address

at a residence in Cape Coral, Florida.

      In March 2009, defendant continued his international travel.

Defendant traveled from the United States to Bolivia and to the

Dominican Republic.         (Gov’t Exs. 10A, 10B.)

      The    immigration     petition     was       granted   on    May     21,   2009,

defendant’s lawful status in the United States was extended through

January 31, 2019, and a new “green card” was mailed to defendant

in Cape Coral, Florida.           (Gov’t Ex. 2, p. 4.)

      F. FBI’s Investigation of Underlying Offense

      On March 10, 2009, Special Agent Kevin O’Grady, then with the

Federal     Bureau   of   Investigation      (FBI),        began   investigating      a

mortgage fraud case targeting the real estate firm of Professional

Realty      Consultants     and    several     of    its    employees,      including

defendant.        Special    Agent   O’Grady        and   other    agents    began   to



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interview witnesses on March 26, 2009, and interviewed about a

dozen people.      Special Agent O’Grady left messages from several

employees who had gone to Bolivia, and received return telephone

calls from Mr. Mauricio Higa on July 17, 2009, Mr. Juan Pablo

Hurtado on July 21, 2009, and Said Cassis on October 2, 2009.

Special Agent O’Grady interviewed each telephonically.

      Special Agent O’Grady also knocked on the door of defendant’s

last known address in Cape Coral, Florida and left a business card

when no one answered.           Special Agent O’Grady later received a

telephone call from defendant’s wife, Crystal Kelly Eguez.             Special

Agent O’Grady told her he would like to speak with her husband

about an investigation he was conducting, and asked to be put in

contact with her husband.

      On August 12, 2009, Special O’Grady received a telephone call

from defendant, who said he was calling from Bolivia in response

to the inquiry made of his wife.              Special Agent O’Grady told

defendant he was investigating mortgages in regard to purchases of

properties in a condo conversion at Venetian Palms, and that

defendant’s name had come up in the investigation.             Special Agent

O’Grady asked defendant a series of questions, which defendant

answered.     Defendant gave the agent several telephone numbers in

Bolivia where he could be reached and said he was running a business

in Bolivia.     Defendant also said he was returning to the United

States   in   October   2009.      At   the   time   Special   Agent   O’Grady



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considered defendant a target and subject of his investigation, but

did   not    give   that    information   to   defendant.     Other   agents

interviewed Alfredo Cassis on October 1, 2009, who said defendant

was residing in Bolivia.

        On September 6, 2009, defendant and his wife were divorced.

        G. Mortgage Fraud Indictment

      On October 14, 2009, defendant and seven others were indicted

in the Fort Myers Division of the Middle District of Florida.             The

Indictment (Doc. #1) alleged that defendants conspired to commit

wire fraud and to defraud a financial institution.                Among the

“manner and means” paragraphs, it was alleged that three of the co-

defendants paid bribes to Carlos Perez so he would add the names

of mortgage loan applicants to existing bank accounts, thus making

it appear the applicants were more creditworthy than they actually

were.     (Id. at 5.)      On the same day, an arrest warrant was issued

for defendant.      (Docs. ##2, 96.)

      Shortly after the Indictment, Carlos Perez and Alfredo Cassis

were arrested in the United States.            Besides Eguez, none of the

other defendants have been arrested.

      H. Efforts to Arrest Defendant

      Special Agent O’Grady placed defendant’s name and date of

birth in the National Crime Information Center (NCIC) computer and

posted the arrest warrant in the system. 4            Information in this


      4The   government’s Response describes in more detail how this

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system is accessible by officers in the United States, but not to

officials of foreign countries, except for Canada.

      Special Agent O’Grady appears to have been satisfied that

defendant was residing in Bolivia.            Special Agent O’Grady never

made any attempt to inform defendant that he had been indicted.

He did not call the telephone numbers in Bolivia given to him by

defendant, or check out defendant’s business in Bolivia, or return

to defendant’s wife’s house in Cape Coral, or call the American

consulate in Bolivia.         Special Agent O’Grady did not cause the

issuance    of   a   “Red   Notice”   by   Interpol   or   seek   defendant’s

extradition from Bolivia.         Special Agent O’Grady testified that

his experience was that fugitives who flee internationally often

return to the United States if they have connections, particularly

family connections, with the United States.           In such cases, entry

into the NCIC system alerts officers at border entry points.

Special Agent O’Grady testified he knew defendant was married and

had a daughter in the United States (but apparently was unaware of

defendant’s      pre-indictment    divorce).      Special    Agent   O’Grady

believed defendant would eventually come back to the United States

on his own and would be arrested as he crossed the border.




was done between October 15 and November 13, 2009. (Doc. #125,
pp. 4-5.) Information that was not presented at the evidentiary
hearing will not be considered.


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      Defendant’s last documented travel from the United States was

on March 26, 2009 to Bolivia.               Thereafter defendant traveled

between countries in South America and elsewhere for which little

or no documentation has been obtained.            Defendant traveled from

Bolivia to Argentina in August 2009; to Brazil in December 2010 and

in December 2012; to Colombia; to Chile in 2011; and to Panama.

Defendant could travel on an identification card when going to

Brazil, Argentina, and Chile, but his passport was utilized in

Panama and Colombia.

      I. Defendant Returns to United States

      San Ysidro, California, south of San Diego, is the most western

and the busiest port of entry in the United States.             On February

16, 2016, Victor Quezada was working as a primary inspection officer

for the U.S. Customs and Border Protection Office at San Ysidro.

At about 4:15 p.m. defendant, driving a white vehicle with Mexican

license plates, handed Officer Quezada his United States Permanent

Residence Card as he was leaving Mexico and attempting to enter the

United States.     Defendant stated he was going to San Diego to visit

friends, he had been visiting friends in Mexico, the vehicle was a

rental car, and he lived in Florida.              Officer Quezada entered

defendant’s name and date of birth into the Vehicle Primary Client

computer system, and discovered the NCIC alert and that defendant

had not crossed the border at that location for at least the prior

six months.      Officer Quezada caused defendant to be escorted to



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 the secondary inspection location, where a number of identification

 documents       were    taken   from    defendant.          All   the   identification

 documents were in defendant’s true name.                      (Gov’t Ex. 2.)        Two

 Bolivian passports were also taken from defendant, one expired and

 one current.       (Gov’t Exs. 3A, 3B.)             The current passport can no

 longer be found by the government.               Airline tickets in defendant’s

 possession indicated that on February 15, 2016, defendant flew from

 Nuevo Laredo, Mexico to Tijuana, Mexico.

       Defendant was arrested on the arrest warrant issued in this

 case.     (Doc.        #96.)    On     March   1,   2016,     defendant    waived   his

 detention and removal hearings in California and consented to be

 sent to the Middle District of Florida.                     (Doc. #97, p. 17.)      On

 March 23, 2016, defendant had his initial appearance in the Fort

 Myers Division of the Middle District of Florida.                         (Doc. #100.)

 On July 31, 2016, defendant, through counsel, asserted his speedy

 trial right by the filing of the Motion to Dismiss.                      (Doc. #119.)

                                            II.

       Defendant asserts that the delay between the filing of the

 Indictment on October 14, 2009 and his arrest on February 16, 2016

 was a violation of his constitutional rights to a speedy trial.

 The     Sixth     Amendment      guarantees         that,     “[i]n     all   criminal

 prosecutions, the accused shall enjoy the right to a speedy . . .

 trial . . . .”           U.S. Const. amend. VI.              The Supreme Court has

 described the speedy-trial right as “amorphous,” “slippery,” and



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 “necessarily relative.”      Vermont v. Brillon, 556 U.S. 81, 89 (2009)

 (quoting Barker v. Wingo, 407 U.S. 514, 522 (1972)).                Instead of

 adopting an inflexible approach, the Supreme Court has “established

 a balancing test, in which the conduct of both the prosecution and

 the defendant are weighed.”        Id. at 90 (quoting Barker, 407 U.S.

 at 529, 530).      Doggett v. United States, 505 U.S. 647 (1992) is

 the leading case addressing delay in arrest after the return of an

 indictment, and analyzed such delay utilizing the four Barker

 factors:    “whether delay before trial was uncommonly long, whether

 the government or the criminal defendant is more to blame for that

 delay, whether, in due course, the defendant asserted his right to

 a speedy trial, and whether he suffered prejudice as the delay's

 result.”    Id. at 651 (citation omitted).           See also United States

 v. Villarreal, 613 F.3d 1344, 1350 (11th Cir. 2010).

       A. Length of Delay

       There is a twofold inquiry as to the length of delay.             First,

 defendant must show that “the interval between accusation and trial

 has crossed the threshold dividing ordinary from ‘presumptively

 prejudicial’    delay.”      Doggett,   505   U.S.    at   651-52    (citation

 omitted).    If defendant makes this showing, the court must then

 consider the extent to which the “delay stretches beyond the bare

 minimum needed to trigger judicial examination of the claim.”              Id.

 at 652 (citation omitted).




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        In this case, defendant was indicted on October 14, 2009 and

 arrested on February 16, 2016.              This delay of about 6-1/2 years is

 sufficient to trigger the speedy trial inquiry.                        Id. at 652 n.1

 (noting    that    courts    have    generally     found    postaccusation         delay

 presumptively prejudicial when it approaches one year).                        See also

 United States v. Ingram, 446 F.3d 1332, 1336 (11th Cir. 2006).                       The

 delay also extended significantly beyond the minimum necessary to

 show   presumptive        prejudice.         See   Doggett,      505    U.S.    at   652

 (explaining       that     “the    presumption      that    pretrial       delay     has

 prejudiced the accused intensifies over time”); Villarreal, 613

 F.3d at 1350-51.          This factor, therefore, weighs heavily against

 the government, and triggers the Court’s review of the other three

 factors.

        B. Reasons for Delay; Relative Blame for Delay

        The next inquiry examines the reasons for the delay, and

 evaluates whether the government or the defendant is more to blame

 for the delay.         Doggett, 505 U.S. at 652-53.          The burden is on the

 prosecution       to     explain    the    cause    of     the   pre-trial       delay.

 Villarreal, 613 F.3d at 1351 (citation omitted); Ingram, 446 F.3d

 at 1337 (citation omitted).            The Court allocates different weight

 to different reasons for delay:

        (1) “[a] deliberate attempt to delay the trial in order
        to hamper the defense [is] weighted heavily against the
        government”; (2) “[a] more neutral reason such as
        negligence or overcrowded courts [is] weighted less
        heavily [against the government] but nevertheless [is]
        considered since the ultimate responsibility for such


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       circumstances must rest with the government rather than
       the defendant”; and (3) “a valid reason, such as a missing
       witness, . . . serve[s] to justify appropriate delay.”
       A government's inability to arrest or try a defendant
       because   of  the    defendant's   own   evasive   tactics
       constitutes a valid reason for delay.             But the
       government's failure to pursue a defendant diligently
       will weigh against it, more or less heavily depending on
       if the government acted in good or bad faith.

 Villarreal, 613 F.3d at 1351 (alterations in original) (internal

 citations omitted).

       The Court finds that the government has not acted with a

 deliberate attempt to delay the arrest of defendant or to hinder

 defendant’s defense.      The Court further finds no bad faith on the

 part of the government, and that the government agents acted in

 good faith. These findings, however, do not resolve the issue of

 negligence.    The parties argue extensively over whether there were

 valid reasons for the delay or whether the delay was due to

 government negligence.

       The Court rejects the government’s assertion that defendant

 left the United States during the investigative stage of the case.

 Neither party inquired of Ms. Armendia as to defendant’s reasons

 for moving.     While defendant had a conversation at the SunTrust

 Bank with Ms. Hathaway seven months prior to his departure, the

 content of the conversation as described by Ms. Hathaway would not

 lead a reasonable person to believe he was being investigated.

 Certainly    Ms.   Hathaway   never   conveyed   such   an   impression   to

 defendant.    Additionally, the meeting clearly had no such impact



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 on    defendant.        Defendant    continued      his   international    travels,

 leaving    the     United   States     and   returning      on   seven    different

 occasions between the April 2008 meeting and his December 2008

 departure      from   the   United    States.       The   federal   investigation

 obviously did not cause defendant to go to Bolivia, since it did

 not    begin    until    approximately       four    months   after   defendant’s

 December 2008 departure.        “Even though [defendant] left the country

 prior to his indictment, the government still had an obligation to

 attempt to find him and bring him to trial.”                     United States v.

 Mendoza, 530 F.3d 758, 763 (9th Cir. 2008).

        The government also argues that it made “reasonable efforts

 to locate and prosecute defendant” and that the failure to arrest

 defendant was “due to the defendant’s own evasive actions.”                   (Doc.

 #125, p. 9.)       The evidence does not support these arguments.

        First, defendant’s location was well known to the government.

 The case agent had spoken to defendant by telephone pre-indictment,

 and obtained his contact information in Bolivia.                  Other witnesses

 had told the government that defendant was in Bolivia.                   The agents

 clearly believed defendant was in Bolivia.

        Second, the evidence does not convince the Court that the

 government has established defendant knew he had been indicted.

 No one from the government told defendant or his family of the

 indictment, and no one from the government told any foreign country

 of defendant’s indictment.            While fugitive co-defendants were in



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 Bolivia, there is no evidence that they met with or had any

 discussions with defendant.         The Court is unwilling to infer that

 simply being in the same part of Bolivia means defendant had been

 told   of   the   indictment   by     the   fugitive       co-defendants.      The

 government    points    to   defendant’s      pre-indictment      statement     to

 Special Agent O’Grady that he intended to return to the United

 States in October 2009, and defendant’s failure to do so.                       In

 September 2009, after this conversation with Special Agent O’Grady,

 defendant and his wife obtained a divorce.             The Court is unable to

 attach the same significance to the change of travel plans as does

 the government.        The records establish that defendant stopped

 traveling to the United States before his indictment, but after his

 divorce.     Defendant’s only known connection with the United States

 - his young daughter - would thereafter visit him in Bolivia.                  The

 Court finds this insufficient to either establish knowledge of the

 indictment or to constitute evasive action by defendant.                       See

 United States v. Brown, 169 F.3d 344, 349-50 (6th Cir. 1999)

 (finding use of alias did not constitute evidence of defendant’s

 knowledge of indictment).

        Third, the record simply does not reflect that defendant took

 “evasive actions” even if it could be found that he knew he had

 been   indicted.       Defendant    told    Special    Agent    O’Grady   he   was

 residing in Bolivia and had a business there, and gave him several

 contact     numbers.      Defendant     remained      in    Bolivia,   traveling



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 extensively but always returning to Bolivia.              Defendant traveled

 to countries which had a better relationship with the United States

 than Bolivia, and utilized his own identification and passports.

 Defendant even went to the American Embassy in Santa Cruz in 2012

 in connection with his daughter’s passport.

       Finally, the Court finds that the government was negligent in

 failing   to    take   reasonable   steps    to   have   defendant   arrested.

 Essentially what the government did was enter defendant’s name and

 date of birth in the NCIC computer and wait for a “hit” on the

 computer.      Under the circumstances of this case, that was clearly

 insufficient.

       The Ninth Circuit succinctly summarized the pertinent legal

 principles in Mendoza:

            The government has some obligation to pursue a
       defendant and bring him to trial.     If the government
       fulfills that obligation by pursuing a defendant with
       reasonable diligence, the defendant does not have a
       speedy trial claim. On the other hand, if the government
       is negligent in pursuing the defendant, prejudice is
       presumed.

            . . . If a defendant attempts to avoid detection,
       the government is not required to make heroic efforts to
       apprehend a defendant who is purposefully avoiding
       apprehension.     However, if the defendant is not
       attempting to avoid detection and the government makes
       no serious effort to find him, the government is
       considered negligent in its pursuit.

 530 F.3d at 762–63 (internal citations omitted).

       Here, the government failed to obtain a “Red Notice” through

 Interpol or make any efforts to extradite defendant from Bolivia.



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 While neither guaranteed success, it was unreasonable and negligent

 for the government not to pursue such avenues in this case.

        First, the government made no effort to extradite defendant

 from Bolivia — his known location.            As a general matter, the United

 States has an obligation to seek extradition of a fugitive defendant

 unless   it    has   a   good    faith    belief,   supported   by   substantial

 evidence, that such efforts would be futile.                 United States v.

 Corona-Verbera, 509 F.3d 1105, 1114-16 (9th Cir. 2007); United

 States v. Pomeroy, 822 F.2d 718, 721-22 (8th Cir. 1987).                      The

 United States and Bolivia have an extradition treaty which includes

 extradition for offenses with a penalty of more than one year in

 prison, includes conspiracy offenses, and includes extradition of

 Bolivian nationals who have committed fraud involving multiple

 victims.      Treaty Between the Government of the United States and

 the Government of the Republic of Bolivia on Extradition, Bol.-

 U.S., arts. I, II, III, June 27, 1995, S. Treaty Doc. No. 104-22.

 The government asserts that such an attempt would be futile because

 the diplomatic relations between the United States and Bolivia were

 extremely     strained.         The   Declaration   of   Magdalena   A.   Boynton

 asserts that the United States-Bolivian relationship deteriorated

 in 2008 when the Bolivian government expelled the U.S. Ambassador

 and the U.S. Drug Enforcement Administration from Bolivia.                 (Gov’t

 Ex. 1, ¶ 8.)     Ms. Boynton reports that in the last decade Bolivia

 has not extradited any fugitives to the United States based on the



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 bilateral treaty between the two countries (but does not indicate

 how many times such extradition has been sought).                     (Id. ¶ 10.)

 Special     Agent    O’Grady     contacted     the   attaché    in    Chile    about

 cooperation with Bolivian authorities regarding arresting Bolivian

 nationals, and was told they would not get cooperation from Bolivia.

       The   government has          not   established    that   extradition     from

 Bolivia would be futile in this case.                The best Ms. Boynton was

 able to say was:            “Based on this extradition history, I cannot

 maintain that an extradition request to Bolivia from 2009 through

 the present would have been addressed and resolved in a timely

 manner.”     (Id.)        While perhaps a difficult process, the government

 was obligated to at least seek extradition in this case.

       Second, the government did not seek a “Red Notice” from

 Interpol to alert other foreign countries of the United States

 arrest warrant.           A Red Notice is an Interpol mechanism which posts

 a notice in countries throughout the world indicating there is an

 active arrest warrant for someone.             Ms. Boynton described Interpol

 Notices     as   “international       requests     for   cooperation    or    alerts

 allowing police in member countries to share critical crime-related

 information”        and    stated   that    with   Red   Notices     “the    persons

 concerned are wanted by national jurisdictions for prosecution or

 to serve a sentence based on an arrest warrant or court decision.”

 (Id. ¶ 9.)




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       In February 2011, the FBI solicited information from their

 field offices about fugitives with a potential nexus to South

 America    to   be    the   potential    subjects     in    Operation     INFRA-SA

 (International       Fugitive   Round-up     and   Arrest    – South     America).

 (Def. Ex. A.)        The FBI was going to participate in the fugitive

 roundup between March 14, 2011 and June 3, 2011.                       (Id. at 1.)

 Among other requirements was an active Red Notice.                     (Id. at 2.)

 On March 14, 2011, the FBI field office responded by including

 defendant as one such fugitive.          (Id. at 4.)

       In March, 2011, Special Agent O’Grady considered using a Red

 Notice as to defendant, but decided against it because in his prior

 experience in three different foreign offices he had found Red

 Notices to not generally be an efficient way to arrest a fugitive.

 Various countries have different treaties, political hostility, and

 reluctance to extradite.          Government emails in March 2011 suggest

 that extradition from Bolivia was a “non-starter diplomatically”

 because Bolivian nationals could not be extradited except for

 crimes that are violations of International Criminal Law, which was

 doubtful as to mortgage fraud.             (Def. Ex. B.)         The same email,

 however,    recommended     the    Interpol    notices      in   the   event   that

 defendant travels elsewhere.         (Id.)    Pursuing the Red Notice would

 certainly    have     increased    the   government’s       ability     to   arrest

 defendant in a more United States-friendly country than Bolivia.




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       The government took the most minimal steps possible in this

 case – it placed defendant in the NCIC computer system and waited.

 The Sixth Amendment required much more in this case.            This factor

 weighs heavily against the government.

       C. Defendant’s Assertion of Speedy Trial

       Defendant invoked his speedy trial right after his arrival in

 the Middle District of Florida during the normal course of the

 criminal proceedings.      On July 31, 2016, defendant through counsel

 asserted his speedy trial right by the filing of the motion to

 dismiss.    (Doc. #119.)    Given the lack of evidence that defendant

 knew he had been indicted, the motion was timely and this factor

 weighs heavily against the government.

       D. Prejudice as Result of Delay

       The final factor is the extent to which the defendant suffered

 actual prejudice from the delay.        In the Eleventh Circuit, if “the

 first three factors do not weigh heavily against the government,

 the   defendant   generally    must   demonstrate    actual   prejudice   to

 succeed on his speedy trial claim.”         Villarreal, 613 F.3d at 1355

 (citation omitted).     See also United States v. Dunn, 345 F.3d 1285,

 1296-97 (11th Cir. 2003); United States v. Register, 182 F.3d 820,

 827 (11th Cir. 1999).       The Court assesses the prejudice suffered

 by the defendant in light of the three interests of the defendant

 that the speedy trial right was intended to protect:                “(1) to

 prevent oppressive pretrial incarceration; (2) to minimize anxiety



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 and concern of the accused; and (3) to limit the possibility that

 the defense will be impaired.”           Villarreal, 613 F.3d at 1355

 (quoting Barker, 407 U.S. at 532); Doggett, 505 U.S. at 654.             The

 “most serious is the last, because the inability of a defendant

 adequately to prepare his case skews the fairness of the entire

 system.”    Villarreal, 613 F.3d at 1355 (citation omitted).

       Here, defendant was not in custody until his February 16, 2016

 arrest, so there was no “oppressive pretrial incarceration.”           Since

 there was no evidence he knew of the indictment, there could be no

 resultant “anxiety and concern” about it.         The only remaining type

 of prejudice, and the most important, is an impaired defense

 “because the inability of a defendant adequately to prepare his

 case skews the fairness of the entire system.”           Doggett, 505 U.S.

 at 654 (citation omitted).      The evidence at the evidentiary hearing

 did not establish any actual prejudice to defendant from the delay,

 but counsel proffered potential prejudice in trial strategy and

 available witnesses.

       Barker explicitly recognized that impairment of one's defense

 is the most difficult form of speedy trial prejudice to prove

 because time's erosion of exculpatory evidence and testimony “can

 rarely be shown.” 407 U.S. at 532.          Doggett stated

       that excessive delay presumptively compromises the
       reliability of a trial in ways that neither party can
       prove or, for that matter, identify.       While such
       presumptive prejudice cannot alone carry a Sixth
       Amendment claim without regard to the other Barker



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       criteria, it is part of the mix of relevant facts, and
       its importance increases with the length of delay.

 505 U.S. at 655-56 (internal citation omitted); Villarreal, 613

 F.3d at 1355-56 (concluding no speedy-trial violation, although

 nearly 10–year delay from indictment to arrest, which weighed

 against convicted defendant).           Given the length of the delay in

 this case, the Court finds presumptive prejudice to defendant in

 the preparation and presentation of his case.               This factor weighs

 heavily against the government.

       The Court balances the four factors heavily against the United

 States.    The Court finds the government has deprived defendant of

 his   constitutional    right    to    a   speedy   trial    under   the   Sixth

 Amendment.

       Accordingly, it is hereby

       ORDERED:

       Defendant's    Motion     to    Dismiss   the   Indictment     Based   on

 Violation of Due Process and Sixth Amendment Speedy Trial Rights

 (Doc. #119) is GRANTED.       The Indictment (Doc. #1) against defendant

 Gabriel Eguez is DISMISSED WITH PREJUDICE.

       DONE and ORDERED at Fort Myers, Florida, this __2nd__ day of

 November, 2016.




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 Counsel of Record




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